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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA
                                                         Civil Action No, 07-cr-115 (PGS)
                       Plaintiff,

                       v.                                                ORI)ER

LEON JOHNSON

                       Defendant.


       WHEREAS this matter having come before the Court on a letter request from Mr.

Johnson seeking a reduction to his sentence; and

       WHEREAS the attorney for Mr. Johnson (Henry E. Klingerman, Esq.) reviewed Mr.

Johnson’s request, and advised that Mr. Johnson is not entitled to a reduction due to an

amendment of USSG § 2D 1 .1

       NOT THEREFORE. it is on this 25th day of May, 2011

       ORDEREI) that Mr. Johnson’s request for a sentence reduction is denied.




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